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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:05CR94
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )              TENTATIVE FINDINGS
                                            )
DIEGO A. LEDEZMA-HERNANDEZ,                 )
                                            )
             Defendant.                     )


      The Court has received the Presentence Investigation Report (“PSR”) and the

government’s objection thereto (Filing No. 236). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

      The Defendant pleaded guilty to a one-count Information charging him with

conspiracy to distribute and possess with intent to distribute more than 50 but less than

500 grams of a mixture or substance containing a detectable amount of

methamphetamine.      The plea agreement provides that the Defendant shall be held

responsible for 57 grams of methamphetamine and shall be sentenced to 84 months

imprisonment. The PSR reflects a drug quantity of 56.7 grams of methamphetamine

mixture and a sentencing guideline range of 60 months. The government objects to ¶ 57

(guideline provisions), arguing that the guideline range in the PSR is outside the

parameters of the parties’ plea agreement.      The objection will be discussed at the

sentencing hearing.
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       IT IS ORDERED:

       1.     The government’s objections to the Presentence Investigation Report (Filing

No. 236) will be discussed at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 22nd day of June, 2006.

                                           BY THE COURT:

                                           s/Laurie Smith Camp
                                           United States District Judge




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